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14                                 UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                          SAN FRANCISCO DIVISION
17
     EXPRESS MOBILE, INC.,                              Case No. 3:21-cv-02001
18
                               Plaintiff,               COMPLAINT FOR PATENT
19                                                      INFRINGEMENT
            v.
20                                                      DEMAND FOR JURY TRIAL
     SLACK TECHNOLOGIES, INC.,
21
                               Defendant.
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     COMPLAINT FOR PATENT INFRINGEMENT                 -1-
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 1                              COMPLAINT FOR PATENT INFRINGEMENT

 2              1. Plaintiff Express Mobile, Inc. (“Express Mobile” or “Plaintiff”), by its attorneys,

 3   demands a trial by jury on all issues so triable and for its Complaint against Slack Technologies,

 4   Inc. (“Slack” or “Defendant”) alleges the following:

 5                                     NATURE OF THE ACTION

 6              2. This action arises under 35 U.S.C. § 271 for Slack’s infringement of Express

 7   Mobile’s United States Patent Nos. 6,546,397 (“the ’397 patent”), 9,928,044 (“the ’044

 8   patent”), 9,471,287 (“the ’287 patent”) and 9,063,755 (“the ’755 patent”).

 9                                             THE PARTIES
10              3. Plaintiff Express Mobile, Inc. is an inventor-owned corporation organized under

11   the laws of the State of Delaware with a place of business at 38 Washington Street, Novato,

12   California 94947.

13              4. Upon information and belief, Slack Technologies, Inc. is a corporation organized

14   and existing under the laws of the State of Delaware, with a place of business at 500 Howard

15   Street, San Francisco, California 94105. Slack may be served through its registered agent for

16   service at CSC Lawyers Incorporating Service 2710 Gateway Oaks Drive, Suite 150N,

17   Sacramento, California, 95833.

18              5. Upon information and belief, Slack claims to be the collaboration hub that brings

19   the right people, information, and tools together to get work done. From Fortune 100 companies
20   to corner markets, millions of people around the world use Slack to connect their teams, unify

21   their systems, and drive their business forward.

22                                    JURISDICTION AND VENUE

23             6.   This Court has jurisdiction over the subject matter of this action pursuant to 28

24   U.S.C. §§ 1331 and 1338(a).

25             7.   Upon information and belief, jurisdiction and venue for this action are proper in

26   the Northern District of California.

27             8.   This Court has personal jurisdiction over Slack because Slack has purposefully

28   availed itself of the rights and benefits of the laws of this State and this Judicial District. Upon

      COMPLAINT FOR PATENT INFRINGEMENT                  -2-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 3 of 105



 1   information and belief, Slack resides in the Northern District of California by maintaining a

 2   regular and established place of business at 500 Howard Street, San Francisco, California 94105.

 3             9.   This Court also has personal jurisdiction over Slack because Slack has done and is

 4   doing substantial business in this Judicial District, both generally and, upon information and

 5   belief, with respect to the allegations in this Complaint, including Slack’s one or more acts of

 6   infringement in this Judicial District.

 7             10. Venue is proper in this Judicial District under 28 U.S.C. §§ 1391(b) and (c) and §

 8   1400(b). Slack has committed acts of infringement through, for example, performing a method

 9   to allow users to produce Internet websites in the Northern District of California and has a
10   regular and established place of business in this District. Slack’s office in San Francisco is a
11   physical place in the District, it is an established location where Slack’s business has been
12   carried out for several years, and Slack publicly advertises its presence in the District.
13                                  INTRADISTRICT ASSIGNMENTS
14             11. Pursuant to Local Rule 3-2 (c), this case involves intellectual property rights and

15   is subject to assignment on a district wide basis.

16                                             PATENTS IN SUIT

17             12. Express Mobile is the lawful owner of all rights, title, and interest in the ’397 patent

18   titled “Browser Based Web Site Generation Tool and Run Time Engine,” including the right to

19   sue and to recover for infringement thereof. The ’397 patent was duly and legally issued on April
20   8, 2003, naming Steven H. Rempell as the inventor. A true and correct copy of the ’397 patent is

21   attached as Exhibit A.

22             13. The inventions of the ’397 patent solve technical problems related to website

23   creation and generation. For example, the inventions enable the creation of websites through

24   browser-based visual editing tools such as selectable settings panels which describe website

25   elements, with one or more settings corresponding to commands. These features are exclusively

26   implemented utilizing computer technology including a virtual machine.

27             14. The claims of the ’397 patent do not merely recite the performance of some pre-

28   Internet business practice on the Internet. Instead, the claims of the ’397 patent recite inventive

      COMPLAINT FOR PATENT INFRINGEMENT                   -3-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 4 of 105



 1   concepts that are rooted in computerized website creation technology, and overcome problems

 2   specifically arising in the realm of computerized website creation technologies.

 3              15. The claims of the ’397 patent recite inventions that are not merely the routine or

 4   conventional use of website creation systems and methods. Instead, the inventions teach a

 5   browser-based website creation system and method in which the user-selected settings

 6   representing website elements are stored in a database, and in which said stored information is

 7   retrieved to generate said website.

 8              16. The technology claimed in the ’397 patent does not preempt all ways of using

 9   website or web page authoring tools nor any other well-known prior art technology.
10              17. Accordingly, each claim of the ’397 patent recites a combination of elements
11   sufficient to ensure that the claim amounts to significantly more than a patent on an ineligible
12   concept.
13              18. In Express Mobile v. KTree Computer Solutions, a case filed in the Eastern District
14   of Texas, the defendant, KTree Computer Solutions, brought a Motion for Judgment on the
15   Pleadings asserting that the ’397 patent is invalid as claiming abstract subject matter under 35
16   U.S.C. § 101. (C.A. 2:17-00128; Dkt. 9, 17, 22-27). The briefing associated with the motion is
17   incorporated by reference into this Complaint.
18              19. After considering the respective pleadings, Magistrate Judge Payne recommended
19   denial of KTree’s motion, without prejudice, holding that “the claims appear to address a problem
20   particular to the internet: dynamically generating websites and displaying web pages based on

21   stored user-selected settings” and further stating “the asserted claims do not bear all of the

22   hallmarks of claims that have been invalidated on the pleadings by other courts in the past. For

23   example, the claims are not merely do-it-on-a-computer claims.” (Dkt. 29, attached as Exhibit B.)

24   No objection was filed to the Magistrate Judge’s report and recommendation and the decision

25   therefore became final.

26              20. In Express Mobile v. Pantheon Systems, Inc., a case filed in the Northern District

27   of California, the defendant, Pantheon Systems, Inc., brought a Motion to Dismiss Plaintiff's First

28   Amended Complaint asserting that the ’397 patent was directed to the abstract idea of creating and

      COMPLAINT FOR PATENT INFRINGEMENT                -4-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 5 of 105



 1   displaying webpages based upon information from a user with no further inventive concept and

 2   purportedly ineligible for patenting under 35 U.S.C. § 101. (Case No. 3:18-CV-04688-RS; Dkt.

 3   26, 32 and 34). The briefing associated with the motion is incorporated by reference into this

 4   Complaint.

 5             21. In Express Mobile v. Code and Theory LLC, a case filed in the Northern District of

 6   California, the defendant, Code and Theory LLC, brought a Motion to Dismiss Plaintiff’s

 7   Complaint asserting that the ’397 patent is not subject matter eligible under 35 U.S.C. § 101 as a

 8   matter of law. (Case No. 3:18-CV-04679-RS; Dkt. 35, 40 and 41). The briefing associated with

 9   the motion is incorporated by reference into this Complaint.
10             22. After a hearing and a consideration of the respective pleadings, Hon. Richard
11   Seeborg denied both motions holding that:
12                •   “The patents here are directed at a purportedly revolutionary technological
13                    solution to a technological problem—how to create webpages for the internet in a
14                    manner that permits ‘what you see is what you get’ editing, and a number of other
15                    alleged improvements over the then-existing methodologies.” Id. at 5.
16                •   The claims of the ‘397 patent are “directed to a specific improvement to the way
17                    computers operate,” and “it simply cannot be said on the present record that the
18                    claims are drawn so broadly as to be divorced from the potentially patent-eligible
19                    purported technological improvements described in the specification.” Id. at 5-6.
20                    (Case No. 3:18-CV-04679-RS; Dkt.45; Case No. 3:18-CV-04688-RS Dkt.40;

21                    attached as Exhibit C.)

22             23. In Case Nos. 1:18-CV-01173-RGA and 1:18-CV-01175-RGA, infringement

23   actions filed by Plaintiff in the District of Delaware, the respective defendants in those actions,

24   Dreamhost LLC and Hostway Services, Inc., brought Motions to Dismiss claims of the ’397

25   patent on the basis of invalidity under 35 U.S.C. § 101. (Case No. 1:18-CV-01173-RGA D.I. 14,

26   D.I. 18-21 and 24 Case No. 1:18-CV-01175-RGA D.I. 17-19 and 23). The briefing associated

27   with the motion is incorporated by reference into this Complaint.

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      COMPLAINT FOR PATENT INFRINGEMENT                 -5-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 6 of 105



 1             24. After consideration of the respective pleadings, Judge Andrews denied both

 2   motions in a joint order, pointing to factual allegations of inventiveness identified by the

 3   Plaintiff, and an expert declaration explaining inventiveness of the claims, noting that such

 4   factual issues preclude a finding of invalidity on a motion to dismiss. (Case No. 1:18-CV-

 5   01173-RGA D.I. 43; Case No. 1:18-CV-01175-RGA D.I. 42; attached as Exhibit D.)

 6             25. Plaintiff is the lawful owner of all rights, title, and interest in United States Patent

 7   No. 9,928,044 titled “Systems and Methods for Programming Mobile Devices,” including the

 8   right to sue and to recover for infringement thereof. The ’044 patent was duly and legally issued

 9   on March 27, 2018, naming Steven H. Rempell, David Chrobak and Ken Brown as the inventors.
10   A true and correct copy of the ’044 patent is attached as Exhibit E.
11             26. The inventions of the ’044 patent solve technical problems associated with
12   methods and systems for displaying content on displays of devices by providing more efficient
13   ways of generating, storing and retrieving code for displaying content, for example, dynamic
14   content, uniformly across different kinds of devices. For example, the inventions of the ’044
15   patent allow a data-efficient and flexible association between a symbolic name with a User
16   Interface (“UI”) object (e.g., a UI object for a widget) corresponding to a web component of a
17   web service, that is manually or automatically selected. The symbolic name has a data format
18   type corresponding to a subclass of UI objects that support the data format type of the symbolic
19   name and is only available to UI objects that support the data format of the symbolic name.
20   Information representative of the defined UI object can be stored in a database and subsequently

21   retrieved from the database to build an application consisting of at least a portion of the database

22   using a player, which uses the information to generate one or more web pages for display across

23   different kinds of devices (e.g., PC, mobile or tablet; or different browsers, operating systems

24   and applications, including for example both native and browser-based applications.)

25             27. The claims of the ’044 patent do not merely recite the performance of some pre-

26   Internet business practice on the Internet. Instead, the claims of the ’044 patent recite inventive

27   concepts that are rooted in the computerized, data-efficient definition, selection, storage and

28   generation of user defined object attributes (e.g., a UI object for a widget) on displays for

      COMPLAINT FOR PATENT INFRINGEMENT                 -6-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 7 of 105



 1   different types of devices, such as PC, mobile or tablet or different browsers, and applications.

 2   Such features are specifically grounded in, and overcome problems with data efficiency and

 3   flexibility specifically arising in, the realm of computerized content generation and display

 4   technologies, and are not well-understood, routine and conventional elements.

 5              28. For example, the claimed inventions of the ’044 patent recite innovative, technical

 6   improvements that select and associate symbolic names with defined UI objects (e.g., UI objects

 7   for a widget) corresponding to web components of web services based on, for example, data

 8   format type, storing information representative of such settings in a database, and building

 9   applications, which together with players, generate uniform, data-efficient content, such as
10   dynamic content, for display across different types of devices.
11              29. The technology claimed in the ’044 patent does not preempt all ways for the
12   computerized generation of code for a display of a device nor any other well-known or prior art
13   technology. For example, the specific, innovative technical improvements do not preempt well-
14   known methods of generating code for a display of a device by programming in HTML or
15   JavaScript code.
16              30. Accordingly, each claim of the ’044 patent thus recites a combination of elements
17   sufficient to ensure that the claim amounts to significantly more than a patent on an ineligible
18   concept.
19              31. Plaintiff is the lawful owner of all rights, title, and interest in United States Patent
20   No. 9,471,287 titled “Systems and Methods for Integrating Widgets on Mobile Devices,”

21   including the right to sue and to recover for infringement thereof. The ’287 patent was duly and

22   legally issued on October 18, 2016, naming Steven H. Rempell, David Chrobak and Ken Brown

23   as the inventors. A true and correct copy of the ’287 patent is attached as Exhibit F.

24              32. The inventions of the ’287 patent solve technical problems associated with

25   methods and systems for displaying content on displays of devices by providing more efficient

26   ways of generating code for uniformly displaying content, for example dynamic content, across

27   different kinds of devices. For example, the inventions of the ’287 patent allow a data-efficient

28   and flexible association between a symbolic name and a UI object (e.g., a UI object for a widget)

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        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 8 of 105



 1   corresponding to a web component of a web service, that is defined for presentation on a display

 2   of a device. The defined UI object can be selected by a user of an authoring tool or

 3   automatically selected by a system based on a web component selected by the user. Further, the

 4   symbolic name has a data format type corresponding to a subclass of UI objects that support the

 5   data format type of the symbolic name. A device-independent application including the

 6   symbolic name is then produced and provided to the device together with a device-platform-

 7   dependent player. Such operations provide a user-friendly platform allowing the UI object to be

 8   efficiently defined and uniformly displayed across different kinds of devices (e.g., PC, mobile or

 9   tablet; or different browsers, operating systems, and applications, including for example both
10   native and browser-based applications).
11             33. The claims of the ’287 patent do not recite merely the performance of a known
12   business practice on the Internet. Instead, the claims of the ’287 patent recite inventive concepts
13   grounded in the computerized, data-efficient definition and generation of object attributes (e.g., a
14   UI object for a widget) on displays for different types of devices, such as PC, tablet, or mobile
15   devices, or different browsers and applications. Such features are specifically grounded in, and
16   overcome problems with data efficiency and flexibility specifically arising in, the realm of
17   computerized content generation and display technologies, and are not well-understood, routine,
18   and conventional elements.
19             34. For example, the claimed inventions of the ’287 patent recite innovative, technical
20   improvements that associate symbolic names with UI objects (e.g., UI objects for a widget)

21   corresponding to web components of web services that are manually or automatically selected,

22   and defined based on, for example, data format type, and produce device-independent

23   applications including those symbolic names, together with device-dependent players, to provide

24   uniform, data-efficient server-based content display across different types of devices.

25             35. The technology claimed in the ’287 patent does not preempt all ways for the

26   computerized generation of code for a display of a device nor any other well-known or prior art

27   technology. For example, the specific, innovative technical improvements do not preempt well-

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      COMPLAINT FOR PATENT INFRINGEMENT                -8-
        Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 9 of 105



 1   known methods of generating code for a display of a device by programming in HTML or

 2   JavaScript code.

 3              36. Each claim of the ’287 patent thus recites a combination of elements sufficient to

 4   ensure that the claim amounts to significantly more than a patent on an ineligible concept.

 5              37. Accordingly, each claim of the ’287 patent recites a combination of elements

 6   sufficient to ensure that the claim amounts to significantly more than a patent on an ineligible

 7   concept.

 8              38. Plaintiff is the lawful owner of all rights, title, and interest in United States Patent

 9   No. 9,063,755 titled “Systems and Methods for Presenting Information on Mobile Devices,”
10   including the right to sue and to recover for infringement thereof. The ’755 patent was duly and
11   legally issued on June 23, 2015, naming Steven H. Rempell, David Chrobak and Ken Brown as
12   the inventors. A true and correct copy of the ’755 patent is attached as Exhibit G.
13              39. The inventions of the ’755 patent utilize inventive concepts to solve technical
14   problems associated with methods and systems for displaying content on displays of devices,
15   providing more efficient ways of generating code for uniformly displaying content, for example
16   dynamic content, across different kinds of devices. For example, the inventions of the ’755
17   patent allow a data-efficient and flexible association between a symbolic name and a UI object
18   (e.g., a UI object for a widget), corresponding to a web component of a web service, that is
19   defined for presentation on a display of a device. A device-independent application including
20   the symbolic name is produced and provided to the device, together with a device-platform-

21   dependent player.

22              40. The claimed inventions of the ’755 patent allow the UI object to be efficiently

23   displayed across different kinds of devices (e.g., PC, mobile or tablet; or different browsers,

24   operating systems, and applications, including both native and browser-based applications), as

25   opposed to, for example, programming directly in HTML or JavaScript code. In turn, a user can

26   enter an input value to the UI object, and obtain an output value based on a web service

27   associated with the UI object, the input value and output value also being communicated through

28   symbolic names to provide an additional level of efficiency.

      COMPLAINT FOR PATENT INFRINGEMENT                  -9-
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 1             41. The claims of the ’755 patent do not recite merely the performance of a known

 2   business practice on the Internet. Instead, the claims of the ’755 patent recite inventive concepts

 3   concerning the computerized, data-efficient generation of server-based content (e.g., a UI object

 4   for a widget) on displays for different types of devices, such as PC, tablet, or mobile devices, or

 5   different browsers and applications. For example, the claims of the ’755 utilize symbolic name

 6   associations and provide device-independent applications including those symbolic names,

 7   together with device-platform-dependent players, to devices. Further, input values and output

 8   values for the defined content are also communicated as symbolic names. Such features are

 9   specifically grounded in, and overcome problems with data efficiency and flexibility specifically
10   arising in, the realm of computerized content generation and display technologies, and are not
11   well-understood, routine, and conventional elements.
12             42. For example, the claimed inventions of the ’755 patent recite innovative, technical
13   improvements that associate symbolic names with defined UI objects (e.g., UI objects for a
14   widget) corresponding to web components of web services, and produce device-independent
15   applications including those symbolic names, together with device-platform-dependent players,
16   to provide uniform, data-efficient content, such as dynamic content, for display across different
17   types of devices.
18             43. The technology claimed in the ’755 patent does not preempt all ways for the
19   computerized generation of code for a display of a device, nor any other well-known or prior art
20   technology. For example, the specific, innovative technical improvements claimed in the ’755

21   patent do not preempt well-known methods of generating code for a display of a device by

22   programming in HTML or JavaScript code.

23             44. Each claim of the ’755 patent thus recites a combination of elements sufficient to

24   ensure that the claim amounts to significantly more than a patent on an ineligible concept.

25   Accordingly, each claim of the ’755 patent recites a combination of elements sufficient to ensure

26   that the claim amounts to significantly more than a patent on an ineligible concept.

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      COMPLAINT FOR PATENT INFRINGEMENT                -10-
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 1                                           BACKGROUND

 2             45. Plaintiff Express Mobile is a leader in the business of developing mobile app and

 3   web site design and creation platforms, and has intellectual property including U.S. patents

 4   relating to certain tools useful in the field. Express Mobile is managed by individuals with

 5   decades of technology and business experience. The Chairman of the Board and CTO of

 6   Express Mobile, Steve Rempell, is the inventor of Express Mobile’s patent portfolio. Mr.

 7   Rempell has over 50 years of experience in technology companies, with much of that work

 8   focused on web-based technologies and applications.

 9             46. Defendant Slack is a well-known company that claims to be the collaboration hub
10   that brings the right people, information, and tools together to get work done. From Fortune 100
11   companies to corner markets, millions of people around the world use Slack to connect their
12   teams, unify their systems, and drive their business forward.
13                  COUNT I - INFRINGEMENT OF U.S. PATENT NO. 6,546,397
14             47. Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 46

15   above.

16             48. Slack has performed a method to allow users to produce Internet websites which

17   infringed, either literally or under the doctrine of equivalents, one or more claims of the ’397

18   patent in violation of 35 U.S.C. § 271(a).

19             49. Upon information and belief, Slack directly infringed at least claim 1 of the ’397
20   patent through Slack’s platform, including Slack’s web app, desktop apps, mobile apps available

21   for Apple iOS devices and Android devices, and related software and servers, that afforded users

22   access to browser-based website authoring tools to edit user-selected settings and for hosting

23   databases for storing information used to generate such websites (collectively, the “Accused

24   Instrumentalities”).

25             50. Slack has infringed at least claim 1 of the ’397 patent by having performed a

26   method to allow users to produce Interest websites on and for computers having a browser and a

27   virtual machine capable of generating displays.

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      COMPLAINT FOR PATENT INFRINGEMENT                -11-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 12 of 105



 1             51. The Accused Instrumentalities were provided to users via a webapp in a browser.

 2   Users of Slack produced Internet websites. The Accused Instrumentalities were also provided to

 3   users via a desktop client that was also based on a website model. The Accused Instrumentalities

 4   used technologies such as React and Electron to create their web app and desktop apps from a

 5   common set of web compatible source code. Similarly, the Accused Instrumentalities provided a

 6   mobile app to users that was also a web-based view of its app.

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15   Source: https://slack.engineering/making-slack-faster-by-being-lazy/

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                52. The Accused Instrumentalities offered apps to the following operating systems
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     and browsers.
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28   Source: https://slack.com/help/articles/115002037526-Minimum-requirements-for-using-Slack

      COMPLAINT FOR PATENT INFRINGEMENT              -12-
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 1             53. The desktop apps of the Accused Instrumentalities included wrappers for web

 2   apps, which used technologies such as WebView and Electron.

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14   Source: https://slack.engineering/building-hybrid-applications-with-electron/
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               54. At various times, the desktop apps of the Accused Instrumentalities were created
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     with different technologies, such as jQuery, Electron, or React.
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       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 14 of 105



 1   Source: https://slack.engineering/rebuilding-slack-on-the-desktop/
 2   See also https://slack.engineering/growing-pains-migrating-slacks-desktop-app-to-browserview/
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16   Source: https://www.electronjs.org/
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               55. The Accused Instrumentalities presented to users an Internet website in their
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     browser displaying a Slack messaging app, through www.slack.com. If a user was a member of
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     different Slack servers, the user picked a server to join.
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      COMPLAINT FOR PATENT INFRINGEMENT                 -14-
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13   Source: https://slack.com

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               56. The Accused Instrumentalities allowed users to produce Internet websites through
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     the Slack app interface (web app shown below).
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28   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N

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       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 16 of 105



 1            57. A user could open the Accused Instrumentalities by clicking the lightning bolt,

 2   then selecting “Open Workflow Builder.”

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14   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N
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              58. The Accused Instrumentalities would open in a new tab.
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28   Source: https://app.slack.com/workflow-builder/T01LQFHAM42/


      COMPLAINT FOR PATENT INFRINGEMENT             -16-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 17 of 105



 1            59. After a user clicked “Create,” the Accused Instrumentalities created a new

 2   Workflow.

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14   Source: https://app.slack.com/workflow-builder/T01LQFHAM42/
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              60. The Accused Instrumentalities presented the user with several options for a
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     Workflow, for example, “New channel member.”
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     COMPLAINT FOR PATENT INFRINGEMENT             -17-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 18 of 105



 1   Source: https://app.slack.com/workflow-builder/T01LQFHAM42/

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14   Source: https://app.slack.com/workflow-builder/T01LQFHAM42/

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              61. After the user clicked “Next,” the Accused Instrumentalities created a Workflow.
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     COMPLAINT FOR PATENT INFRINGEMENT             -18-
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 1   Source: https://app.slack.com/workflow-
     builder/T01LQFHAM42/workflow/341639472187715622
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               62. All modern browsers include an ECMAScript (also known as JavaScript) virtual
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     machine capable of generating displays, by at least modifying the content or properties of a web
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     page.
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     Source: https://www.w3schools.com/js/js_versions.asp
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     Source: https://softwareengineeringdaily.com/2018/10/03/javascript-and-the-inner-workings-of-
21   your-browser/

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     Source: http://mrbool.com/how-to-modify-the-properties-and-content-of-a-web-page-using-
27   javascript/27684
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      COMPLAINT FOR PATENT INFRINGEMENT              -19-
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 1             63. The Accused Instrumentalities presented viewable menus having a user selectable

 2   panel of settings describing elements on a website. These panels of settings were presented

 3   through a browser on a computer adapted to accept multiple selectable settings in said panels as

 4   inputs therefrom, and these user selectable settings in said panels corresponded to commands to a

 5   virtual machine. For example, the Accused Instrumentalities presented a selectable panel of

 6   settings for a user to create messages and forms and allowed a user to add a step within the

 7   “Workflow Test” to trigger in response to a user joining a channel.

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     Source: https://app.slack.com/workflow-
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     builder/T01LQFHAM42/workflow/341639472187715622
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               64. In addition, and as another example, in adding a “Send a message” step, the
23
     Accused Instrumentalities allowed the user to add a step to send a message to the whole channel
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     when a new user joined. The user could insert formatted text and variables through the Accused
25
     Instrumentalities’ window.
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      COMPLAINT FOR PATENT INFRINGEMENT               -20-
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     Source: https://app.slack.com/workflow-
24   builder/T01LQFHAM42/workflow/341639472187715622
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              65. The Accused Instrumentalities allowed a user to click “Save” and add the step to
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     the Workflow.
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     COMPLAINT FOR PATENT INFRINGEMENT             -21-
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12   Source: https://app.slack.com/workflow-
     builder/T01LQFHAM42/workflow/341639472187715622
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14           66. The Accused Instrumentalities then published the Workflow.

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26   Source: https://app.slack.com/workflow-
     builder/T01LQFHAM42/workflow/341639472187715622
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     COMPLAINT FOR PATENT INFRINGEMENT           -22-
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 1          67.   The Accused Instrumentalities allowed users in the channel to see that a

 2   Workflow was added to the channel.

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     Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N
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15          68.   The Accused Instrumentalities sent a message whenever a user left and rejoined a
16   channel.
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28   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N

      COMPLAINT FOR PATENT INFRINGEMENT            -23-
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 1          69.     Examples of user selectable settings describing elements on a website include the

 2   font options shown below, such as font styles and formatting settings such as bold, italic,

 3   strikethrough, bullets, numbered lists, code snippets, and block quotes. The Accused

 4   Instrumentalities included numerous JavaScript code modules including at least those shown

 5   below. JavaScript code may be used to process a range of user driven events, including mouse

 6   down, keypress, or onload events which may be used to process settings commands sent to the

 7   JavaScript virtual machine.

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12   Source: https://app.slack.com/client/T01LQFHAM42/C01MRQCEV3N
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     Source: https://www.w3schools.com/js/js_events_examples.asp
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22          70.     As another example, Slack uses React, which is used to support a range of user

23   interface and other events.

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      COMPLAINT FOR PATENT INFRINGEMENT               -24-
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     Source: www.reactjs.org
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            71.     The Accused Instrumentalities generated a display in accordance with one or
11
     more user selected settings substantially contemporaneously with the selection thereof. For
12
     example, for a text object, a user could have selected formatting settings which controlled the
13
     appearance of the text. Upon changing the formatting, the appearance of the text was updated to
14
     reflect the new setting. For example, a user could change the formatting of the text below, such
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     as by changing the text to bold, italic, and an ordered list, and the text in the text box would
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     change as settings were selected.
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      COMPLAINT FOR PATENT INFRINGEMENT                 -25-
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 1   Source: https://app.slack.com/workflow-
     builder/T01LQFHAM42/workflow/341639472187715622
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 3          72.    The Accused Instrumentalities allowed a user to also change the variables in the
 4   message. For example, the user could have added a second “Person who joined channel” and
 5   changed the settings of each to “Name” and “Email” respectively, instead of “Mention.”
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     Source: https://app.slack.com/workflow-
18   builder/T01LQFHAM42/workflow/341639472187715622

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            73.    The Accused Instrumentalities for the web platform stored information
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     representative of said one or more user selected settings in a database, for example, a MySQL
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     database which contains messages.
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      COMPLAINT FOR PATENT INFRINGEMENT              -26-
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14   Source: https://slack.engineering/how-slack-built-shared-channels/
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            74.     After the user clicked Publish Changes, the Accused Instrumentalities would save
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     the changes to a database.
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      COMPLAINT FOR PATENT INFRINGEMENT              -27-
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 1   Source: https://app.slack.com/workflow-
     builder/T01LQFHAM42/workflow/341639472187715622
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     Source: https://app.slack.com/workflow-
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     builder/T01LQFHAM42/workflow/341639472187715622
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16           75.     The Accused Instrumentalities generated a web site at least in part by retrieving

17   said information representative of said one or more user selected settings stored in said database.

18   Selections made by the user were used to generate the Slack for the web page displaying the

19   Slack document. For example, the Accused Instrumentalities loaded messages from the database

20   into its servers.

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      COMPLAINT FOR PATENT INFRINGEMENT                -28-
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10   Source: https://slack.engineering/making-slack-faster-by-being-lazy/
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            76.     When a user joined the channel, the Accused Instrumentalities would send the
12
     new message, reflecting the changes to the settings that the user made and were saved in the
13
     database. For example, the formatting changes such as the bold, italic, and strikethrough were
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     reflected in the text, as well as the changes to the variables, which showed the name and email
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     instead of a mention.
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28   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N

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 1          77.    As another example, after the Accused Instrumentalities refreshed the Slack

 2   widow, when the web page for the app initially loaded, it was blank with very little HTML for

 3   display. For example, the content such as “welcome” did not appear in the original page load.

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12   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N
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     Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N
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      COMPLAINT FOR PATENT INFRINGEMENT              -30-
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 7   Source: https://app.slack.com/client/T01LQFHAM42/C01MT5M9K4N

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              78.   The Accused Instrumentalities built the document web page to generate said
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     website from a database, including using at least one run time file which utilized information
10
     stored in the database to generate virtual machine commands for the display of at least a portion
11
     of the web page. Upon loading of the document web page, the Accused Instrumentalities for
12
     the web platform page had very little displayable content, but substantially contained JavaScript
13
     code and JavaScript runtime file references used to load a series of JavaScript runtime files and
14
     initialize the web page. At least one runtime file loaded the data from a database which was
15
     used to generate the document web page. The initial page load shows HTML elements which
16
     are empty but accompanied by JavaScript code and commands to load additional JavaScript run
17
     time files. This initial JavaScript code contained at least code to load additional JavaScript files
18
     which are used to generate the full document page. This code loaded additional code and other
19
     files to generate and display the website, including settings information.
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              79.   Slack’s infringement has damaged Express Mobile.
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                    COUNT II - INFRINGEMENT OF U.S. PATENT NO. 9,928,044
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              80.   Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 79
23
     above.
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              81.   Slack has and is making, using, offering for sale, and/or selling (including licensing)
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     in the United States Slack’s platform, including Slack.com, Slack Workflow Builder, the Slack
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     mobile application available for Apple iOS devices (including Apple TV, iPads, iPhones and iPod
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     Touch) on Apple’s App Store, Android devices (including phones and tablets) on Google Play,
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 1   and related software and servers, that afford users access to a system for generating code to provide

 2   content on a display of a device (collectively, the “Accused Instrumentalities”) that infringes,

 3   either literally or under the doctrine of equivalents, one or more claims of the ’044 patent in

 4   violation of 35 U.S.C. § 271(a).

 5          82.     Upon information and belief, Slack has directly infringed at least claim 1 of the ’044

 6   patent through the Accused Instrumentalities that comprise a system for generating code to provide

 7   content on the display of a device for each of its users generate code to provide content on a display

 8   of a device.

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     Source: https://slack.com/features
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      COMPLAINT FOR PATENT INFRINGEMENT                -32-
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 1          83.     The Accused Instrumentalities include computer memory to store user selections and

 2   other information relating to a user’s web site, web pages, and the web components or elements that

 3   are intended to be displayed.

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     Source: https://slack.engineering/how-slack-built-shared-
13   channels/#:~:text=%20Slack%20implements%20a%20client-
     server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20M
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     ore%20
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26   Source: https://slack.engineering/how-slack-built-shared-
     channels/#:~:text=%20Slack%20implements%20a%20client-
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     server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20M
28   ore%20

      COMPLAINT FOR PATENT INFRINGEMENT               -33-
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 1          84.     The Accused Instrumentalities include symbolic names required for evoking one or

 2   more web components each related to a set of inputs and outputs of a web service obtainable over

 3   a network. The symbolic names, such as parameter names, are character strings that do not contain

 4   either a persistent address or pointer to an output value accessible to the web service.

 5          85.     The Accused Instrumentalities include a feature called Workflow Builder, which

 6   offers a set of tools to help users automate processes into workflows (or custom applications) in

 7   their Slack workspace. Workflows require the use of a symbolic name, or parameter value, to

 8   evoke a web component related to a set of inputs and outputs of a web service obtainable over a

 9   network.
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21   Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder

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     Source: https://api.slack.com/tutorials/design-expense-block-kit
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12   Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder

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28   Source: https://slack.com/help/articles/360053571454-Set-up-a-workflow-in-Slack


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10        86.    The Accused Instrumentalities include an address of the web service.

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24   Source: https://slack.com/help/articles/360001603387-Manage-Slack-connection-issues
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            87.    The Accused Instrumentalities include an authoring tool configured to define a UI
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     object for presentation on the display. The UI object corresponds to a web component which
27
     consists of an input of the web service and an output of the web service. For example, Workflow
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      COMPLAINT FOR PATENT INFRINGEMENT             -37-
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 1   Builder allows a user to define a UI object corresponding to a web component for presentation on

 2   the display.

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     Source: https://slack.com/help/articles/360053571474-Add-steps-to-a-workflow
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25          88.    When a user of the Accused Instrumentalities uses the authoring tool to create a
26   Workflow, the authoring tool accesses the computer memory to select the associated UI objects to
27   allow the user to do so. Once selected, Slack associates the symbolic name, such as a parameter
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      COMPLAINT FOR PATENT INFRINGEMENT             -39-
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 1   name, with the selected defined UI object. The symbolic name is only available to corresponding

 2   UI objects. The Accused Instrumentalities store information representative of the defined UI

 3   object and related settings in a database and retrieve the information for purposes of displaying the

 4   UI object on the live web site. For example, settings related to the UI object would include the

 5   selected options for the Form Submission.

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     COMPLAINT FOR PATENT INFRINGEMENT    -41-
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            89.     The Accused Instrumentalities include an authoring tool configured to build an
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     application consisting of one or more web page views from at least a portion of the database
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     utilizing at least one player. The player utilizes information stored in the database to generate the
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     display of at least a portion of the one or more web pages. The Accused Instrumentalities also
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     include an application that allows users to use Slack on mobile devices.
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20   Source: https://slack.com/help/articles/115002037526-Minimum-requirements-for-using-Slack
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            90.     The application is provided, for example, in the form of software files and
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     associated data for the web page view(s) that are stored in the Slack database. When a browser is
23
     used to access Slack, it uses a player which interacts with the application and data stored on the
24
     Slack server. The player is, for example, software provided to the device in connection with the
25
     application. The player accesses and renders the data to generate the web page viewed by the user.
26
     The player operates with the virtual machine (for example, Microsoft Internet Explorer uses the
27
     Trident or Blink virtual machine, depending on the software version) and the information stored
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      COMPLAINT FOR PATENT INFRINGEMENT              -43-
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 1   in the database in order to generate and display at least a portion of one or more web pages. The

 2   player includes code that is device-dependent in order to allow the environment to work across a

 3   variety of devices such as personal computers (including laptops and desktops), tablets, and mobile

 4   phones. The Accused Instrumentalities include a player or code that utilizes information stored in

 5   its database to generate for display one or more web pages as shown below.

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            91.     The Accused Instrumentalities provide the application and the player code to the
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     client devices to be executed on client devices. As described above and shown below, when a
27
     browser accesses Slack or views a channel on Slack, the application is provided to the device, for
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 1   example, in the form of software files and other assets. The player code operates with the virtual

 2   machine to interpret this software code and execute it locally.

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     Source: https://slack.com/help/articles/115002037526-Minimum-requirements-for-using-Slack
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      COMPLAINT FOR PATENT INFRINGEMENT               -46-
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 1          92.     The Accused Instrumentalities allow a user to provide an input value and the

 2   corresponding input symbolic name to the web service through their device. The web service

 3   utilizes the user provided input value and the corresponding input symbolic name for generating

 4   one or more output values associated in the source code with an output symbolic name. The player

 5   receives the output symbolic name and corresponding one or more output values and provides

 6   instructions for a display of the device to present an output value in the defined UI object. The

 7   player code on the device operates with the virtual machine to execute software instructions in

 8   order to receive the output symbolic name and output value. The instructions also provide for the

 9   display of this output value in the defined UI object in order to display the appropriate data to the
10   user. This output value is presented in the defined UI object for display on the device to the user.
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     Source: https://api.slack.com/reference/interaction-payloads/block-actions
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22   Source: https://api.slack.com/surfaces/modals/using#response_actions

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      COMPLAINT FOR PATENT INFRINGEMENT                -47-
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24   Source: https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-
     Builder
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      COMPLAINT FOR PATENT INFRINGEMENT           -50-
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            93.     Slack was made aware of the ’044 patent and its infringement thereof at least as
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     early as December 19, 2019 when Express Mobile provided notice of Slack’s infringement of
11
     the ’044 patent to David Schellhase, General Counsel of Slack. Since at least the time Slack
12
     received notice, Slack has induced others to infringe at least one claim of the ’044 patent under 35
13
     U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively
14
     aiding and abetting others to infringe, including but not limited to Slack’s clients, customers, and
15
     end users, whose use of the Accused Instrumentalities constitutes direct infringement of at least
16
     one claim of the ’044 patent. In particular, Slack’s actions that aid and abet others such as
17
     customers and end users to infringe include advertising and distributing the Accused
18
     Instrumentality and providing instruction materials, training, and services regarding the Accused
19
     Instrumentality. For example, Slack provides support services for the Accused Instrumentalities,
20
     including providing instructions, guides, and online materials. See, e.g., slack.engineering/;
21
     slack.com/resources/;       slack.com/tutorials/;          slack.com/features/;    slack.com/help/;
22
     https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-Builder;
23
     https://api.slack.com/tutorials/design-expense-block-kithttps://api.slack.com/tutorials/design-
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     expense-block-kit;
25
     https://www.workplace.com/help/work/1070177463385471?helpref=hc_global_nav;
26
     https://www.workplace.com/help/work/300047317995067?helpref=about_content; and all related
27
     domains and subdomains. Slack’s clients, customers, and end users exercise control and obtain
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      COMPLAINT FOR PATENT INFRINGEMENT                  -51-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 52 of 105



 1   beneficial use of the Accused Instrumentalities. For example, as demonstrated in connection with

 2   claim 1, Slack’s clients, customers, and end users exercise control over and benefit from the use

 3   of Slack’s Workflow Builder by using the authoring tool to define custom UI objects for interacting

 4   with other Slack end users. Slack has engaged in such actions with specific intent to cause

 5   infringement or with willful blindness to the resulting infringement because Slack has had actual

 6   knowledge of the ’044 patent and knowledge that its acts were inducing infringement of the ’044

 7   patent since at least the date Slack received notice that such activities infringed the ’044 patent.

 8         94.       Slack also contributes to infringement of the ’044 patent by offering to sell, and/or

 9   selling (including licensing) in the United States the Accused Instrumentalities, which are
10   especially made or adapted for use in an infringement of the ’044 patent.              The Accused
11   Instrumentalities are a material component for use in practicing the ’044 patent and are not a staple
12   article of commerce suitable for substantial non-infringing use. For example, Slack’s platform,
13   including Slack.com, the Slack Workflow Builder, the Slack mobile application, and related
14   software and servers constitute a material portion of the invention and has no substantial non-
15   infringing uses. Slack’s clients, customers, and end users exercise control and obtain beneficial
16   use of the Accused Instrumentalities, as shown below. For example, as demonstrated in connection
17   with claim 1, Slack clients, customers and end users exercise control over and benefit from the use
18   of Slack’s Workflow Builder by using the authoring tool to define custom UI objects for interacting
19   with other Slack end users. Slack is thereby liable for contributory infringement of the asserted
20   claims of the ‘044 patent under 35 U.S.C. § 271(c).

21         95.       Slack’s infringement has damaged and continues to damage and injure Express

22   Mobile.

23
                    COUNT III - INFRINGEMENT OF U.S. PATENT NO. 9,471,287
24
              96.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to 95
25
     above.
26
              97.    Slack has and is making, using, offering for sale, and/or selling (including licensing)
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     in the United States Slack’s platform, including Slack.com, Slack Workflow Builder, the Slack
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      COMPLAINT FOR PATENT INFRINGEMENT                 -52-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 53 of 105



 1   mobile application available for Apple iOS devices (including Apple TV, iPads, iPhones and iPod

 2   Touch) on Apple’s App Store, Android devices (including phones and tablets) on Google Play,

 3   and related software and servers, that afford users access to a system for generating code to provide

 4   content on a display of a device (collectively, the “Accused Instrumentalities”) which infringes,

 5   either literally or under the doctrine of equivalents, one or more claims of the ’287 patent in

 6   violation of 35 U.S.C. § 271(a).

 7          98.     Upon information and belief, Slack has directly infringed at least claim 1 of the ’287

 8   patent through the Accused Instrumentalities that comprise a system for generating code to provide

 9   content on the display of a device for each of its users generate code to provide content on a display
10   of a device
11          99.     The Accused Instrumentalities comprise a system for generating code to provide
12   content on the display of a device for each of its users.
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      COMPLAINT FOR PATENT INFRINGEMENT                 -53-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 54 of 105



 1   Source: https://slack.com/features

 2
            100.    The Accused Instrumentalities include computer memory to store a registry of user
 3
     selections and other information relating to a user’s web site, web pages, and the web components or
 4
     elements that are intended to be displayed.
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14   Source: https://slack.engineering/how-slack-built-shared-
     channels/#:~:text=%20Slack%20implements%20a%20client-
15   server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20M
     ore%20
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     Source: https://slack.engineering/how-slack-built-shared-
28   channels/#:~:text=%20Slack%20implements%20a%20client-

      COMPLAINT FOR PATENT INFRINGEMENT               -54-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 55 of 105



 1   server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20M
     ore%20
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 3          101.    The Accused Instrumentalities include symbolic names required for evoking one
 4   or more web components each related to a set of inputs and outputs of a web service obtainable
 5   over a network. The symbolic names, such as parameter names, are character strings that do not
 6   contain either a persistent address or pointer to an output value accessible to the web service.
 7          102.    The Accused Instrumentalities include a feature called Workflow Builder, which
 8   offers a set of tools to help users automate processes into workflows (or custom applications) in
 9   their Slack workspace. Workflows require the use of a symbolic name, or parameter value, to
10   evoke a web component related to a set of inputs and outputs of a web service obtainable over a
11   network.
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     Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder
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      COMPLAINT FOR PATENT INFRINGEMENT                -55-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 56 of 105



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 7   Source: https://api.slack.com/tutorials/design-expense-block-
     kithttps://api.slack.com/tutorials/design-expense-block-kit
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     Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder
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      COMPLAINT FOR PATENT INFRINGEMENT              -56-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 57 of 105



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     Source: https://slack.com/help/articles/360053571454-Set-up-a-workflow-in-Slack
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      COMPLAINT FOR PATENT INFRINGEMENT            -57-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 58 of 105



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                103.   The Accused Instrumentalities include an address of the web service.
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     COMPLAINT FOR PATENT INFRINGEMENT           -58-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 59 of 105



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24   Source: https://slack.com/help/articles/360001603387-Manage-Slack-connection-issues
25
            104.   The Accused Instrumentalities include an authoring tool configured to define a UI
26
     object for presentation on the display. The UI object corresponds to a web component which
27
     consists of an input of the web service and an output of the web service. For example, Workflow
28

      COMPLAINT FOR PATENT INFRINGEMENT             -59-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 60 of 105



 1   Builder allows a user to define a UI object corresponding to a web component for presentation on

 2   the display

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     Source: https://slack.com/help/articles/360053571474-Add-steps-to-a-workflow
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      COMPLAINT FOR PATENT INFRINGEMENT             -60-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 61 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -61-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 62 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -62-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 63 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -63-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 64 of 105



 1          105.       The Accused Instrumentalities include an authoring tool configured to define a UI

 2   object for presentation on a display. Each defined UI object can be selected by a user of the

 3   authoring tool.

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     Source: https://slack.com/help/articles/360053571474-Add-steps-to-a-workflow
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      COMPLAINT FOR PATENT INFRINGEMENT                 -64-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 65 of 105



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26          106.   When a user of the Accused Instrumentalities uses the authoring tool to create a
27   Workflow, the authoring tool accesses the computer memory to select the associated UI objects
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      COMPLAINT FOR PATENT INFRINGEMENT              -65-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 66 of 105



 1   to allow the user to do so. Once selected, Slack associates the symbolic name, such as a

 2   parameter name, with the selected defined UI object. The symbolic name is only available to

 3   corresponding UI objects.

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      COMPLAINT FOR PATENT INFRINGEMENT              -66-
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     COMPLAINT FOR PATENT INFRINGEMENT    -67-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 68 of 105



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10          107.    The application is provided, for example, in the form of software files and

11   associated data for the web page view(s) that are stored in the Slack database. When a browser

12   is used to access Slack, it uses a player which interacts with the application and data stored on

13   the Slack server. The player is, for example, software provided to the device in connection with

14   the application. The player accesses and renders the data to generate the web page viewed by the

15   user. The player operates with the virtual machine (for example, Microsoft Internet Explorer

16   uses the Trident or Blink virtual machine, depending on the software version) and the

17   information stored in the database in order to generate and display at least a portion of one or

18   more web pages. The player includes code that is device-dependent in order to allow the

19   environment to work across a variety of devices such as personal computers (including laptops
     and desktops), tablets, and mobile phones. The Accused Instrumentalities include a player or code
20
     that utilizes information stored in its database to generate for display one or more web pages as
21
     shown below.
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      COMPLAINT FOR PATENT INFRINGEMENT                -68-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 69 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -69-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 70 of 105



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18           108.   The Accused Instrumentalities provide the application and the player to the device
19   to be executed on the device. When a user of the device provides one or more input values
20   associated with an input symbolic name to an input of the defined UI object, the device provides
21   the user provided one or more input values and corresponding input symbolic name to the web
22   service. The web service utilizes the input symbolic name and the user provided one or more
23   input values for generating one or more output values having an associated output symbolic
24   name.
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      COMPLAINT FOR PATENT INFRINGEMENT              -70-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 71 of 105



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 5   Source: https://api.slack.com/reference/interaction-payloads/block-actions
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12   Source: https://api.slack.com/surfaces/modals/using#response_actions

13
            109.    The player receives the output symbolic name and corresponding one or more
14
     output values and provides instructions for the display of the device to present an output value in
15
     the defined UI object.
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      COMPLAINT FOR PATENT INFRINGEMENT                 -71-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 72 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -72-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 73 of 105



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10          110.   The Accused Instrumentalities also include an application that allows users to use

11   Slack on mobile devices.

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      COMPLAINT FOR PATENT INFRINGEMENT              -73-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 74 of 105



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20   Source: https://slack.com/help/articles/115002037526-Minimum-requirements-for-using-Slack
21
            111.    The application is provided, for example, in the form of software files and
22
     associated data for the web page view(s) that are stored in the Slack database. When a browser
23
     is used to access Slack, it uses a player which interacts with the application and data stored on
24
     the Slack server. The player is, for example, software provided to the device in connection with
25
     the application. The player accesses and renders the data to generate the web page viewed by the
26
     user. The player operates with the virtual machine (for example, Microsoft Internet Explorer
27
     uses the Trident or Blink virtual machine, depending on the software version) and the
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      COMPLAINT FOR PATENT INFRINGEMENT                -74-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 75 of 105



 1   information stored in the database in order to generate and display at least a portion of one or

 2   more web pages. The player includes code that is device-dependent in order to allow the

 3   environment to work across a variety of devices such as personal computers (including laptops

 4   and desktops), tablets, and mobile phones.

 5          112.    The Accused Instrumentalities include a player or code that utilizes information

 6   stored in its database to generate for display one or more web pages as shown below. For

 7   example, as shown below, the Accused Instrumentalities allow a user to provide an input value

 8   and the corresponding input symbolic name to the web service through their device. The web

 9   service utilizes the user provided input value and the corresponding input symbolic name for
10   generating one or more output values associated in the source code with an output symbolic
11   name. The player receives the output symbolic name and corresponding one or more output
12   values and provides instructions for a display of the device to present an output value in the
13   defined UI object.
14          113.    The player code on the device operates with the virtual machine to execute
15   software instructions in order to receive the output symbolic name and output value. The
16   instructions also provide for the display of this output value in the UI object in order to display
17   the appropriate data to the user. This output value is presented in the UI object for display on the
18   device to the user.
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      COMPLAINT FOR PATENT INFRINGEMENT                -75-
      Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 76 of 105



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     COMPLAINT FOR PATENT INFRINGEMENT    -76-
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     COMPLAINT FOR PATENT INFRINGEMENT    -77-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 78 of 105



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      Source: https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-Builder
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            114.    Slack was made aware of the ’287 patent and its infringement thereof at least as
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     early as December 19, 2019 when Express Mobile provided notice of Slack’s infringement of
22
     the ’287 patent to David Schellhase, General Counsel of Slack. Since at least the time Slack
23
     received notice, Slack has induced others to infringe at least one claim of the ’287 patent under
24
     35 U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively
25
     aiding and abetting others to infringe, including but not limited to Slack’s clients, customers, and
26
     end users, whose use of the Accused Instrumentality constitutes direct infringement of at least
27
     one claim of the ’287 patent. In particular, Slack’s actions that aid and abet others such as
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      COMPLAINT FOR PATENT INFRINGEMENT                -78-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 79 of 105



 1   customers and end users to infringe include advertising and distributing the Accused

 2   Instrumentality and providing instruction materials, training, and services regarding the Accused

 3   Instrumentality. For example, Slack provides support services for the Accused Instrumentalities,

 4   including providing instructions, guides, and online materials. See, e.g., slack.com/resources;

 5   slack.com/tutorials; slack.com/features; slack.com/help;

 6   https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-Builder;

 7   https://api.slack.com/tutorials/design-expense-block-kithttps://api.slack.com/tutorials/design-

 8   expense-block-kit;

 9   https://www.workplace.com/help/work/1070177463385471?helpref=hc_global_nav;
10   https://www.workplace.com/help/work/300047317995067?helpref=about_content; and all

11   related domains and subdomains. Slack has engaged in such actions with specific intent to cause

12   infringement or with willful blindness to the resulting infringement because Slack has had actual

13   knowledge of the ’287 patent and knowledge that its acts were inducing infringement of the ’287

14   patent since at least the date Slack received notice that such activities infringed the ’287 patent.

15          115.    Slack also contributes to infringement of the ‘287 patent by offering to sell, and/or

16   selling (including licensing) in the United States the Accused Instrumentalities, which are

17   especially made or adapted for use in an infringement of the ’287 patent. The Accused

18   Instrumentalities are a material component for use in practicing the ’287 patent and are not a

19   staple article of commerce suitable for substantial non-infringing use. For example, Slack’s
20   platform, including Slack.com, the Slack Workflow Builder, the Slack mobile application, and

21   related software and servers constitute a material portion of the invention and has no substantial

22   non-infringing uses. Slack’s clients, customers, and end users exercise control and obtain

23   beneficial use of the Accused Instrumentalities, as shown below. For example, as demonstrated

24   in connection with claim 1, Slack’s clients, customers and end users exercise control over and

25   benefit from the use of Slack’s Workflow Builder by using the authoring tool to define custom

26   UI objects for interacting with other Slack end users. Slack is thereby liable for contributory

27   infringement of the asserted claims of the ’287 patent under 35 U.S.C. § 271(c).

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      COMPLAINT FOR PATENT INFRINGEMENT                 -79-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 80 of 105



 1           116.    Slack’s infringement has damaged and continues to damage and injure Express

 2   Mobile.

 3                  COUNT IV - INFRINGEMENT OF U.S. PATENT NO. 9,063,755

 4           117.    Plaintiff incorporates by reference the allegations contained in paragraphs 1 to

 5   116 above.

 6           118.    Slack has and is making, using, offering for sale, and/or selling (including

 7   licensing) in the United States Slack’s platform, including Slack.com, Slack Workflow Builder,

 8   the Slack mobile application available for Apple iOS devices (including Apple TV, iPads,

 9   iPhones and iPod Touch) on Apple’s App Store, Android devices (including phones and tablets)
10   on Google Play, and related software and servers, that afford users access to a system for
11   generating code to provide content on a display of a device (collectively, the “Accused
12   Instrumentalities”) which infringes, either literally or under the doctrine of equivalents, one or
13   more claims of the ’755 patent in violation of 35 U.S.C. § 271(a).
14           119.    Upon information and belief, Slack has directly infringed at least claim 1 of
15   the ’755 patent through the Accused Instrumentalities that comprise a system for generating code
16   to provide content on the display of a device for each of its users generate code to provide
17   content on a display of a device
18           120.    The Accused Instrumentalities comprise a system for generating code to provide
19   content on the display of a device for each of its users.
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      COMPLAINT FOR PATENT INFRINGEMENT                   -80-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 81 of 105



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12   Source: https://slack.com/features
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            121.    The Accused Instrumentalities include computer memory to store a registry of user
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     selections and other information relating to a user’s web site, web pages, and the web components or
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     elements that are intended to be displayed.
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25   Source: https://slack.engineering/how-slack-built-shared-
     channels/#:~:text=%20Slack%20implements%20a%20client-
26   server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20M
27   ore%20

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      COMPLAINT FOR PATENT INFRINGEMENT                -81-
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12    Source: https://slack.engineering/how-slack-built-shared-
      channels/#:~:text=%20Slack%20implements%20a%20client-
13    server%20architecture%20where%20clients,a%20host%20of%20other%20events%20to...%20More%2
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15          122.    The Accused Instrumentalities include symbolic names required for evoking one
16   or more web components each related to a set of inputs and outputs of a web service obtainable
17   over a network. The symbolic names, such as parameter names, are character strings that do not
18   contain either a persistent address or pointer to an output value accessible to the web service.
19          123.    The Accused Instrumentalities include a feature called Workflow Builder, which
20   offers a set of tools to help users automate processes into workflows (or custom applications) in
21   their Slack workspace. Workflows require the use of a symbolic name, or parameter value, to
22   evoke a web component related to a set of inputs and outputs of a web service obtainable over a
23   network.
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      COMPLAINT FOR PATENT INFRINGEMENT                -82-
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     Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder
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     Source: https://api.slack.com/tutorials/design-expense-block-kit
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      COMPLAINT FOR PATENT INFRINGEMENT               -83-
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14   Source: https://slack.com/help/articles/360035692513-Guide-to-Workflow-Builder

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      COMPLAINT FOR PATENT INFRINGEMENT           -84-
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     Source: https://slack.com/help/articles/360053571454-Set-up-a-workflow-in-Slack
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      COMPLAINT FOR PATENT INFRINGEMENT            -85-
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 1            124.   The Accused Instrumentalities include an address of the web service, as shown

 2   below.

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     COMPLAINT FOR PATENT INFRINGEMENT               -86-
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24   Source: https://slack.com/help/articles/360001603387-Manage-Slack-connection-issues
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            125.   The Accused Instrumentalities include an authoring tool configured to define a UI
26
     object for presentation on the display. The UI object corresponds to a web component which
27
     consists of an input of the web service and an output of the web service. For example, Workflow
28

      COMPLAINT FOR PATENT INFRINGEMENT              -87-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 88 of 105



 1   Builder allows a user to define a UI object corresponding to a web component for presentation

 2   on the display.

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     Source: https://slack.com/help/articles/360053571474-Add-steps-to-a-workflow
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      COMPLAINT FOR PATENT INFRINGEMENT             -88-
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26          126.   When a user of the Accused Instrumentalities uses the authoring tool to create a
27   Workflow, the authoring tool accesses the computer memory to select the associated UI objects
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      COMPLAINT FOR PATENT INFRINGEMENT              -89-
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 1   to allow the user to do so. Once selected, Slack associates the symbolic name, such as a

 2   parameter name, with the selected defined UI object. The symbolic name is only available to

 3   corresponding UI objects.

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      COMPLAINT FOR PATENT INFRINGEMENT              -90-
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     COMPLAINT FOR PATENT INFRINGEMENT    -91-
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10          127.    The application is provided, for example, in the form of software files and

11   associated data for the web page view(s) that are stored in the Slack database. When a browser

12   is used to access Slack, it uses a player which interacts with the application and data stored on

13   the Slack server. The player is, for example, software provided to the device in connection with

14   the application. The player accesses and renders the data to generate the web page viewed by the

15   user. The player operates with the virtual machine (for example, Microsoft Internet Explorer

16   uses the Trident or Blink virtual machine, depending on the software version) and the

17   information stored in the database in order to generate and display at least a portion of one or

18   more web pages. The player includes code that is device-dependent in order to allow the

19   environment to work across a variety of devices such as personal computers (including laptops

20   and desktops), tablets, and mobile phones.

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      COMPLAINT FOR PATENT INFRINGEMENT                -92-
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     COMPLAINT FOR PATENT INFRINGEMENT    -93-
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18           128.   The Accused Instrumentalities provide the application and the player to the device
19   to be executed on the device. When a user of the device provides one or more input values
20   associated with an input symbolic name to an input of the defined UI object, the device provides
21   the user provided one or more input values and corresponding input symbolic name to the web
22   service. The web service utilizes the input symbolic name and the user provided one or more
23   input values for generating one or more output values having an associated output symbolic
24   name.
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      COMPLAINT FOR PATENT INFRINGEMENT              -94-
       Case 3:21-cv-02001-RS Document 1 Filed 03/23/21 Page 95 of 105



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 5   Source: https://api.slack.com/reference/interaction-payloads/block-actions
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12   Source: https://api.slack.com/surfaces/modals/using#response_actions

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            129.    The player receives the output symbolic name and corresponding one or more
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     output values and provides instructions for the display of the device to present an output value in
15
     the defined UI object.
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      COMPLAINT FOR PATENT INFRINGEMENT                 -95-
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     COMPLAINT FOR PATENT INFRINGEMENT    -96-
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10          130.   The Accused Instrumentalities also include an application that allows users to use

11   Slack on mobile devices.

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      COMPLAINT FOR PATENT INFRINGEMENT              -97-
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     Source:: https://slack.com/help/articles/115002037526-Minimum-requirements-for-using-Slack
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21          131.    The application is provided, for example, in the form of software files and
22   associated data for the web page view(s) that are stored in the Slack database. When a browser
23   is used to access Slack, it uses a player which interacts with the application and data stored on
24   the Slack server. The player is, for example, software provided to the device in connection with
25   the application. The player accesses and renders the data to generate the web page viewed by the
26   user. The player operates with the virtual machine (for example, Microsoft Internet Explorer
27   uses the Trident or Blink virtual machine, depending on the software version) and the
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      COMPLAINT FOR PATENT INFRINGEMENT                -98-
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 1   information stored in the database in order to generate and display at least a portion of one or

 2   more web pages. The player includes code that is device-dependent in order to allow the

 3   environment to work across a variety of devices such as personal computers (including laptops

 4   and desktops), tablets, and mobile phones.

 5          132.    The Accused Instrumentalities include a player or code that utilizes information

 6   stored in its database to generate for display one or more web pages as shown below. For

 7   example, as shown below, the Accused Instrumentalities allow a user to provide an input value

 8   and the corresponding input symbolic name to the web service through their device. The web

 9   service utilizes the user provided input value and the corresponding input symbolic name for
10   generating one or more output values associated in the source code with an output symbolic
11   name. The player receives the output symbolic name and corresponding one or more output
12   values and provides instructions for a display of the device to present an output value in the
13   defined UI object.
14          133.    The player code on the device operates with the virtual machine to execute
15   software instructions in order to receive the output symbolic name and output value. The
16   instructions also provide for the display of this output value in the UI object in order to display
17   the appropriate data to the user. This output value is presented in the UI object for display on the
18   device to the user.
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      COMPLAINT FOR PATENT INFRINGEMENT                -99-
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     COMPLAINT FOR PATENT INFRINGEMENT   -100-
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     COMPLAINT FOR PATENT INFRINGEMENT   -101-
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     Source: https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-
11   Builder
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            134.    Slack was made aware of the ’755 patent and its infringement thereof at least as
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     early as December 19, 2019 when Express Mobile provided notice of Slack’s infringement of
23
     the ’755 patent to David Schellhase, General Counsel of Slack. Since at least the time Slack
24
     received notice, Slack has induced others to infringe at least one claim of the ’755 patent under
25
     35 U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively
26
     aiding and abetting others to infringe, including but not limited to Slack’s clients, customers, and
27
     end users, whose use of the Accused Instrumentality constitutes direct infringement of at least
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      COMPLAINT FOR PATENT INFRINGEMENT               -102-
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 1   one claim of the ’755 patent. In particular, Slack’s actions that aid and abet others such as

 2   customers and end users to infringe include advertising and distributing the Accused

 3   Instrumentality and providing instruction materials, training, and services regarding the Accused

 4   Instrumentality. For example, Slack provides support services for the Accused Instrumentalities,

 5   including providing instructions, guides, and online materials. See, e.g., slack.com/resources;

 6   slack.com/tutorials; slack.com/features; slack.com/help;

 7   https://slack.com/help/articles/360055655493-View-workflow-activity-in-Workflow-Builder;

 8   https://api.slack.com/tutorials/design-expense-block-kithttps://api.slack.com/tutorials/design-

 9   expense-block-kit;
10   https://www.workplace.com/help/work/1070177463385471?helpref=hc_global_nav;

11   https://www.workplace.com/help/work/300047317995067?helpref=about_content; and all

12   related domains and subdomains. Slack’s clients, customers, and end users exercise control and

13   obtain beneficial use of the Accused Instrumentalities. For example, as demonstrated in

14   connection with claim 1, Slack clients, customers, and end users exercise control over and

15   benefit from the use of Slack’s Workflow Builder by using the authoring tool to define custom

16   UI objects for interacting with other Slack end users. Slack is thereby liable for induced

17   infringement of the asserted claims of the ’755 patent under 35 U.S.C. § 271(b).

18          135.    Slack also contributes to infringement of the ’755 patent by offering to sell, and/or

19   selling (including licensing) in the United States the Accused Instrumentalities, which are
20   especially made or adapted for use in an infringement of the ’755 patent. The Accused

21   Instrumentalities are a material component for use in practicing the ’755 patent and are not a

22   staple article of commerce suitable for substantial non-infringing use. For example, Slack’s

23   platform, including Slack.com, the Slack Workflow Builder, the Slack mobile application, and

24   related software and servers constitute a material portion of the invention and has no substantial

25   non-infringing uses. Slack’s clients, customers, and end users exercise control and obtain

26   beneficial use of the Accused Instrumentalities, as shown below. For example, as demonstrated

27   in connection with claim 1, Slack’s clients, customers and end users exercise control over and

28   benefit from the use of Slack’s Workflow Builder by using the authoring tool to define custom

      COMPLAINT FOR PATENT INFRINGEMENT               -103-
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 1   UI objects for interacting with other Slack end users. Slack is thereby liable for contributory

 2   infringement of the asserted claims of the ‘755 patent under 35 U.S.C. § 271(c).

 3           136.    Slack’s infringement has damaged and continues to damage and injure Express

 4   Mobile.
                                              PRAYER FOR RELIEF
 5

 6           WHEREFORE, Plaintiff requests that the Court enter judgment for Plaintiff and against

 7   Defendant as follows:

 8                a. That U.S. Patent No. 6,546,397 be judged valid, enforceable, and infringed by

 9   Defendant;

10                b. That U.S. Patent No. 9,928,044 be judged valid, enforceable, and infringed by

11   Defendant;

12                c. That U.S. Patent No. 9,471,287 be judged valid, enforceable, and infringed by

13   Defendant;

14                d. That U.S. Patent No. 9,063,755 be judged valid, enforceable, and infringed by

15   Defendant;

16                e. That Plaintiff be awarded judgment against Defendant for damages together with

17   interests and costs fixed by the Court including an accounting of all infringements and/or damages

18   not presented at trial;

19                f. That the Court declare this an exceptional case and award Plaintiff its attorneys’

20   fees, as provided by 35 U.S.C. § 285; and

21                g. That Plaintiff be awarded such other and further relief as this Court may deem just

22   and proper.

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      COMPLAINT FOR PATENT INFRINGEMENT               -104-
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 1                                                JURY DEMAND

 2         Plaintiff respectfully requests a jury trial on all issues so triable.

 3
     Dated: March 23, 2021                                          Respectfully submitted,
 4

 5                                                          By:     /s/ Robert Kramer
                                                                    Robert Kramer
 6

 7                                                          FEINBERG DAY KRAMER ALBERTI
                                                            LIM TONKOVICH & BELLOLI LLP
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                                                            Attorneys for Express Mobile, Inc.
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     COMPLAINT FOR PATENT INFRINGEMENT                 -105-
